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 4   Telephone: (916) 554-2772
 5
 6                   IN THE UNITED STATES DISTRICT COURT
 7                  FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA             )
                                          )   NO. 2:11-CR-449 KJM
10             Plaintiff,                 )
                                          )   STIPULATION AND ORDER
11        v.                              )   CONTINUING STATUS HEARING
                                          )   RE MENTAL EXAMINATION OF
12                                        )   DEFENDANT HOMERO LOPEZ-BARRON
     HOMERO LOPEZ-BARRON,                 )   PURSUANT TO 18 U.S.C. § 4241
13                                        )   AND TO EXCLUDE SPEEDY TRIAL
               Defendant.                 )   ACT TIME
14                                        )
                                          )
15                                        )
16
          Whereas, Christopher Haydn-Myer, Esq., attorney for
17
     defendant Homero Lopez-Barron, reports and represents that:
18
               1.    Mr. Lopez-Barron’s family member said that when
19
          Mr. Lopez-Barron was approximately 8-years-old, an object
20
          fell from a tree, and hit him in the head.        Since that time,
21
          Mr. Lopez-Barron has had difficulty remembering things.
22
               2.    Defense counsel spoke with Mr. Lopez-Barron about
23
          his head trauma, and he said that something fell from an
24
          avocado tree, while his brother was cutting the branches
25
          above him, and the object hit him in the head.         Mr.
26
          Lopez-Barron further relayed that the object stuck in his
27
          head, and his mother took it out.       Mr. Lopez-Barron was
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 1   unconscious for hours, and then when he awoke, he saw
 2   snakes, but they were not really there, he just saw snakes.
 3   According to Mr. Lopez-Barron, his family was working in the
 4   mountains in Mexico, and he was never medically treated in a
 5   hospital for his head injury; instead of proper medical
 6   care, his mother took care of him.
 7        3.    Mr. Haydn-Myer has worked with clients that have
 8   been diagnosed with mental retardation.        Mr. Haydn-Myer has
 9   observed that one of the common characteristics of the
10   disorder is that people with mental retardation have
11   behaviors that do not match their actual physical age,
12   crying is a good example.     Mr. Haydn-Myer observed that when
13   Mr. Lopez-Barron cries, while he is a full grown man, his
14   face begins to contort into a pout that looks exactly like a
15   7-year-old boy that is being scolded.        His lips purse, and
16   he becomes racked with convulsions, like he is aware that he
17   is about to cry, but he does not want to be punished for
18   crying, so he is attempting to “stuff” his sadness inside of
19   himself.
20        4.    Mr. Haydn-Myer needed to know if Mr. Lopez-Barron
21   is mentally retarded.     To achieve this, Mr. Haydn-Myer spoke
22   with Dr. Jeffrey Miller, and he agreed to test Mr.
23   Lopez-Barron for mental retardation.
24        5.    Mr. Haydn-Myer then spoke to Dr. Miller on
25   December 13, 2011, and Dr. Miller said that Mr. Lopez-Barron
26   is in the bottom 1-2 percent for I.Q., and an I.Q. in this
27   range would have a diagnosis of mild mental retardation.
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 1        It is hereby stipulated by and between the United States and
 2   Mr. Lopez-Barron, through their respective counsel, subject to
 3   the approval of the Court, that:
 4              1.   The Court conduct a hearing to determine the
 5        mental competency of Mr. Lopez-Barron, pursuant to 18 U.S.C.
 6        § 4241(a), at a date and time to be set that is convenient
 7        for the Court and the parties after the psychiatric or
 8        psychological examination of Mr. Lopez-Barron is completed;
 9        and
10              2.   The Court order that the Bureau of Prisons perform
11        a psychiatric or psychological examination of Mr.
12        Lopez-Barron before the hearing, pursuant to §4241(b), and
13        prepare a report containing those matters required under 18
14        U.S.C. § 4247(c).
15              3.   The Court make a nonbinding recommendation that
16        the Bureau of Prisons perform the psychiatric or
17        psychological examination of Mr. Lopez-Barron at the
18        Metropolitan Detention Center in San Diego, California.
19              4.   The Court order that the defense provide a copy of
20        any and all reports related to the psychiatric,
21        psychological, and/or mental evaluations, examinations,
22        and/or testing of Mr. Lopez-Barron, including, without
23        limitation, any report by Dr. Jeffery Miller, to the United
24        States forthwith and before the Bureau of Prisons performs
25        its psychiatric or psychological of him.
26        The parties further stipulate that:
27        1.    The presently set February 9th, 2012, at 8:30 a.m.
28        status conference date shall be vacated as to Lopez-Barron

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 1        only; and
 2        2.   The time from the date of this stipulation, December
 3        16, 2011, until the Court rules on Mr. Lopez-Barron’s
 4        competency to stand trial shall be excluded from computation
 5        of time within which the trial of this matter must be
 6        commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
 7        3161(h)(1)(A), and 18 U.S.C. § 3161(h)(7)(A) and(B)(iv), and
 8        Local Codes A (mental competency determination) and T4
 9        (defense preparation).     Further, Mr. Lopez-Barron and the
10        United States stipulate and agree that the Court shall find
11        the ends of justice in granting the continuance in Mr.
12        Lopez-Barron’s trial outweigh the best interests of the
13        defendant and the public in a speedy trial.
14
15   DATED: December 16, 2011               BENJAMIN B. WAGNER
                                            United States Attorney
16
                                            /s/ Samuel Wong
17
                                      By:
18                                          SAMUEL WONG
                                            Assistant U.S. Attorney
19
20   DATED: December 16, 2011
21                                          /s/ Christopher Haydn-Myer
22                                    By:
23                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for defendant
24                                          HOMERO Homero Lopez-Barron
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 1                                    ORDER
 2
 3        Pursuant to stipulation of respective counsel for the
 4   parties, and good cause appearing therefrom, the Court adopts the
 5   stipulation of the parties in its entirety as its ORDER.
 6        Based on the parties’ stipulation, the Court specifically
 7   finds that there is reasonable cause to believe that Mr. Homero
 8   Lopez-Barron may be presently suffering from a mental disease or
 9   defect rendering him mentally incompetent to the extent that he
10   is unable to understand the nature and consequences of the
11   proceedings against him or to assist properly in his defense
12   within the meaning of 18 U.S.C. § 4241(a).
13        Pursuant to § 4241(b), the defendant is referred to the
14   Bureau of Prisons for a psychiatric or psychological examination
15   for a reasonable period of time, not to exceed thirty days (not
16   including time to transport the defendant), unless extended by
17   further Court order, and report in accordance with the provisions
18   of 18 U.S.C. § 4247(b) and (c) to assist the Court in determining
19   the defendant’s mental competence.       The Court makes a nonbinding
20   recommendation that the Bureau of Prisons perform the psychiatric
21   or psychological examination of Mr. Lopez-Barron at the
22   Metropolitan Detention Center in San Diego, California.
23        The Court orders that the defense provide a copy of any and
24   all reports related to the psychiatric, psychological, and/or
25   mental evaluations, examinations, and/or testing of Mr. Lopez-
26   Barron, including, without limitation, any report by Dr. Jeffery
27   Miller, to the United States forthwith and before the Bureau of
28   Prisons performs its psychiatric or psychological of him.

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 1        Under § 4247(b), the psychiatric or psychological
 2   examination shall be completed by a licensed or certified
 3   psychiatrist or psychologist.     The examining psychiatrist or
 4   psychologist shall prepare a report which shall be submitted to
 5   the Court with copies to the attorney for the United States and
 6   the attorney for the defendant, as follows:
 7        Hon. Kimberly J. Mueller
          United States District Judge
 8        501 I Street, 15th Floor
          Sacramento, CA 95814
 9
          Attorney for the United States:
10        Samuel Wong
          Assistant U.S. Attorney
11        501 I Street, Room 10-100
          Sacramento, CA 95814
12        (916) 554-2772
13        Attorney for defendant:
          Chris Haydn-Myer
14        Attorney at Law
          1478 Stone Point Drive, Suite 400
15        Roseville, CA 95611
          (916)622-1703
16
17        The report shall include the following information required
18   under § 4247(c), including:
19        1.   The defendant’s history and present symptoms;
20        2.   A description of the psychiatric, psychological, and
21   medical tests that were employed and their results;
22        3.   The examiner’s findings; and
23        4.   The examiner’s opinions as to diagnosis, prognosis, and
24   whether the defendant is suffering from a mental disease or
25   defect rendering him mentally incompetent to the extent that he
26   is unable to understand the nature and consequences of the
27   proceedings against him or to assist properly in his defense.
28        The Court finds that additional time is necessary for the

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 1   Bureau of Prisons to conduct its examination of Homero Lopez-
 2   Barron’s mental competency, and report back to the Court and both
 3   counsel the Bureau’s findings and recommendations.            The Court
 4   specifically finds that:       (1) the ends of justice served by the
 5   granting of such continuance outweigh the best interests of the
 6   public and defendant in a speedy trial; and (2) the failure to
 7   grant the trial continuance would deny defense counsel reasonable
 8   time necessary for effective preparation, taking into account the
 9   exercise of due diligence.
10        The Court further ORDERS that the presently set February 9,
11   2012, at 8:30 a.m., status conference shall be vacated as to Mr.
12   Lopez-Barron only.      The Court further ORDERS that time from the
13   date of the parties’ stipulation, December 16, 2011, and
14   continuing until the Court rules on Lopez-Barron’s competency to
15   stand trial shall be excluded from computation of time within
16   which the trial of this matter must be commenced under the Speedy
17   Trial Act pursuant to 18 U.S.C. § 3161(h)(1)(A), and 18 U.S.C. §
18   3161(h)(7)(A) and (B)(iv), and Local Codes A (mental competency
19   determination) and T4 (defense preparation).           The Court finds
20   that the ends of justice in granting the continuance in Mr.
21   Lopez-Barron’s trial outweigh the best interests of the defendant
22   and the public in a speedy trial.
23   DATED:    December 20, 2011.
24
                                             UNITED STATES DISTRICT JUDGE
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